
The judgment of the court was as follows:
“The several claims of Thomas Walker, esquire, on behalf of himself and the other members of the Loyal company; and Thomas Nelson, esquire, on behalf of the Greenbrier company, to grants of all the lands surveyed under several orders o± council, bearing date the 12th of July, 1749, the 29th of October, 1751, the 14th of June, 1753, and the 16th of December, 1773, came on to be heard yesterday and this day; and thereupon, the arguments of the counsel for thq claimants, and of the attorney general for the commonwealth, having been fully heard and considered: It is the opinion of the court, and accordingly decreed and ordered, that all surveys made by a county surveyor, or his deputy, properly qualified according to law, previous to the year 1776, and certified to have been made by virtue of the orders of council to the Loyal and Greenbrier companies, or either of them, ought to be confirmed; and that the register be directed to issue patents upon all such surveys as shall be returned, and so certified.”*

This. U presume, means, that a certificate, whenever given, either before or subseuuent to the date of this judgment, provided the survey was actually made under an order of council, should be deemed sufficient; for, upon inspecting a variety of surveys in the general court, and other places, before the revolution, I do not discover, that tile order of council was, in general cases, referred to in the survey.

